United States Bankruptcy Court
No rthern District of California

In re 'l'se`\i Luan Ho Case No. 18~30581
Debmr(s) Chaptcr T `

AM:ENDED AMENDMENT COVER SHEET

Arnendment(s) to the following petition, list(s), schedule(s) or statement(s) are transmitted herewith:
Scheduie B »

NOTICE OF AMENDMENT(S) TO AFFECTED PARTIES n

Pursuant to Federal Rule of Bankruptcy Procedure 1009(a), I certify that notice of the filing of the amendment(s} listed above has
been given this date to any and all entities affected by the amendment as follows:Washe, LLC

cio Mr. Georgs Eshoo, Esq.

Law Office of George P. Eshoo

702 Marshall St., Ste. 500

Radwood city, cA 94063-1323

Date: Se_ptember 10, 2018 W\

Paul R. S'hankman

Attomey for Debtor(S)

HlNDS & SHANKMAN, LLF

21257 Hawthorne Boulevard

Second Floor

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Fi|l in this information to identify yoer case and this filing:

Debtor 1 Tsai Luan Ho
Flrsl Namc Mlddle Name Laat Name

   
      
         
 

Debtor 2
{Spouee. ii hing} Flrel lime Mlddle Neme L,asl blame

Unlled Stafes Banl<ruptey Courl for the: NORTHERN DlSTR|CT OF CAL|FORNIA

 

          

 

 

  
   

Casenumber 18-30531 l chemirinislsan

amended filing

 

  

 

Official Form 106A_/B

 

Scheclule AIB: Property 1215

|11 93¢|1 ¢Hf°g°ll'. separately list and describe ltems. Liet nn asset only onee. lf an asset ms in more than one category, list the asset in the category where you
think lt fits best. Be as complete end accurate as posslh}e. if two married people are filing together, both are equally responsible for supplying correct
|nformatlon. if lmra space le needed, attach a separate sheet to this form. 011 the tap of any additional pages, write your name end case number (if known).
Answer every question.

Descrihe anh Resldence, Bulldlng. tand, or Other Real You mm or Have an interest ln

\-,n- _.‘_,,

1. Do you own or have any legal or equitable interest in any residenoa, building1 landl or similar property?

l No. on re Parrz.
l:l ¥as. Where is the properly?

Deacritie Yeu`r Vehloles

Do you own. lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles you own that
someone else drives if you lease a vehicle. also report lt on Sohedule G: Executoiy Contracis and Unexplred Leeses.

 

3. Cars. vans, trucks. tractors, sport utility vehicles, motorcycles

. No
ij Yee

4. Watercreft, aircraft, motor homes, ATVs and other recreational vehicles. other vehicles. and accessories
Exampies: Bcats, trailersl motors, personal watercratt, fishing ill*\sssiel.sl enowmobiles, motorcycle accessories

-No
l:lYes 7

 

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
pages you have attached for Part 2. erte that number here ........=> $°-°°

 

 

 

 

 

Deecrlhe Your Personal and Houeehold Items

     

         

o eo igoe san rn mgs
Exampies: Ma]or appliancesl furniture, llnens. chlne. kltohenware

l N_o
l:l Yes. Desoribe.....

7. Electronics
Examp!es: Teievlsions and radios; audiol video, stereo, and digital equipment computers printere, scanners: music collections electronic devices

including cell phones. cameras. media players1 games
l No
[`J Yes. Describe .....

Officlal Fon'n 106A_!B » Sohedule AiB: Property page ‘i
Soilwara Copyrlghi (e) 1996-2013 Beat Cese, Lt_C -www.besloasa.oom Bes| Case Bardcruplqr

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Debtor'l Tsai_Luan Ho Case number firknownl 13.30531

 

8. Coliecrlbles of value
Exempies: Antiquee and ngurlnes; palntings, prints, cr other artwork; hooks pictures. or other art objects; stamp. coin, or baseball card coilecticns;
other oo|iecllons. memolabilia, collecilbies
. No

U Yes. Desoribe.....

9. Equipment for sports and hobbies ~
Exampies: Sports, photographic exerciso, and other hobby equipment bicycles. pool tables, golf clubs, skis; canoes and kayaits; carpentry toois;
musical instruments ~

l No
l:l ¥es. Describe.....

10. Firearrns
Exampieo' Pistois, rilles. shotguns, ammunitionl and related equipment

. No
L_.l Yes. Dascrlbe .....

. 11. Ciol:lres
Exampi'es: Everyday clothes, furs, leather coats, designer wasn shoes. accessories

l No
i:] Yes. Desoribe.....

12. Jevvelry _
Exompios: Everydayiewelry, costume jewelry. engagement rings. wedding rings, heinoom iewelry, wetches, gemsl goid, silver

- NQ .
l:| Yes. Describe .....

13. lion-farm animals
Exempies: Dogs, cats, birds. horses

l No
i;l Yes. Describe .....

14. Any other personal and household items you did riot already llst, including any health aids you did not list
l No
l:| Yes. Give specilic information .....

 

_ 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. write that number here $°-°°

 

 

 

 

 

     
 

claims or_ exemp_ ons. l

 

16. Cash
Exemples: Money you have in your wallet in your home. ln a safe deposit box, and on hand when you tile your petition

|:| Yes ....................

17. Deposits of money
Exemples:. Chedtlng, ssvings, or other iinancia| acoounts; certlhcstes of deposit; shares ln credit unions. brokerage houses, and other similar
institutions if you have multiple accounts with the same institution list eaoh.
- No
ill Yes ........................ lnsilruuon name '

18. Bonds. mutual funds, or publicly traded stocks
Exempies: Bond funde, investment accounts with brokerage limu;, money market accounts

l No

l"_'[ Yea.___\____,_,__,___ institution or issuer ceme:
O‘Flioia| Form lOSNB Schedule N'B: Property page 2
Sotiwere Copyrlght [c) 1996~2018 Bast Cale. LLC -www.bestcase.oem Bcst Case Bankn.lptcy

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D@bfofi feet Lu_al_'i Ho Case number (ffknown) 18-30581

19. iiiloin-tpubl;cly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
o n ven ure

.No

i`_“l res, Give specific infon'natlon about them
Name of entity: % ofownershlp:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotreble monuments include personal checks, elshiers' checke, promissory notesl and money orders.
iven-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

-No

l:i Yes. lee specific information about them
issuer name:

21. Retirement or pension accounts
Examples‘ interesls in IRA, ER|SA. Keogh, 401 (k)c 403(b). thrift savings accountsl or other pension or proHt-eharlng plans

-No

|:i Yee. List each account separately
Type of account institution name:

22. Security deposits and prepayments
Your share of oil unused deposits you have made so that you may continue service or use nom a company
Examp!es: Agreements with landlorde. prepaid rent, public utilities (eiectric, ges. water), telecommunications companies cr others

l No `
|:i Yes. _ institution name or individual:

23. Annuitiee (A contract for s periodic payment of money to you, either for life or for a number of years)
l:i Ye; _____________ issuer name and description

24. interests in an education iRA. in an account in a qualified ABLE program, or under a qualified state tuition prolram.
26 u.s.c. §§ soo(b)(i), 529A(b), and szs{b}n).

l Ng .
ij Yes,_____,__,_,. institution name end description Separately file the records of any lnteresis.i‘l U.S.C. § 521(<:):

25. Trusts, equitable or future interests fn property (other than anything listed in line 1), and rights or powers exercisable for your benefit
l No
ij Yes. Giue specific information about them...

26. Patenl:s, copyrightsl trademarks, trade secrets, and other intellectual property
Exemples: internal domain names. websites. proceeds from royalties and iicensing agreements

l No
l:i Yee. lee specific information about lhern...
27. Licenees, franchises, and other general intangibles
E)cempies.' Buiiding permits exclusive licenses cooperative association holdings liquor licenses, professional licenses
l No
l:i Yes. Give specific information about them...

    
 

rfMo`n`ey‘oi€'p`r.operty§""` " "

28. Tax refunds owed to you
l No .
|:l Yes. lee specific information about them, including whether you already filed the returns and the tax yeare.......

29. Family support _
Exampies.' Pasl due or lump sum atimony, spousal eupporl, child support maintenance divorce settiernent, property settlement

. No
g Yes. Give specific information ......

Officlal Form iDSA!B Schedule A!B: Propeny page 3
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Debi°|"i T§‘_ai_Lua_rl Ho Case number (ifknown} 18.30581

30. Other amounts someone owes you
Exempfes: Unpafd wages. disability insurance paymentsl disabiiity benefitsl sick pay, vacation pay, workers compensationl Social Security
benefits; unpaid loans you made to someone else

l No
[Ii Yes. Give specific information..

31. interests in insurance policies
Exampies.' l-ieaith. disability, or life insuranoe; health savings account [HSA); credit. i'iomeovrnei"sl or renter insurance

-No

ij ¥es. Nsme the insurance company of each policy and list its value.
Company namer Beneficiary: Surrender or refund
_ value:

32. Any interest |n property that is due you from someone who has died
if you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
someone has died. 7

- No
l:l Yesl Give specific information..

33. Ciaims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Exampies: Accidents, employment disputes1 insurance ciaims, or rights to sue

L_.lNo

- Yes. Describe each ciaim.........

 

Cialrn Against Waehe, LLC: Debtor was the Nianager of
Washe and Truef;ee for the Huang Family. |n Sepiiember
2014, in an effort to secure a refund from L.iberty,and NAAMC
to the LeefHuang Famiiy, Kirk, Goa, and Liberty called a
meeting with the t.eeil-iuang Famiiy and its attorneys at
Shephard Muilin. Aiso present at the Shephard Mullin
meeting were iiils. i-io and George Eshoo. The sole subject
matter of the Shephard Muiiin meeting was to determine how
Liberty and NAAMC could assure the LeeiHueng Famiiy that
their $27 mii|ion investment in Liberl:y and NAAMC could be
returned to the LeeiHuang Family, now that the Leeil-iueng
Famiiy had discovered that their investments had been
misused by Klrk, Goa, and Liberty. At the Shephard Muiiin
meeting, Kirk and Liberty proposed the formation of a new
entity to,hold defined real estate assets of Liberf:y and
NAAMC to address the LeefHuang Famiiy investments in
Liberl:y and NAAMC. Eehoo was tacked with the formation of
the new entity which was named Washo, LLC (hereinaff:er
referred to as "Washe"). Washe was formed with the express
knowledge and consent of the Leeil~luang Famiiy, Kirk, Gao,
and leerty. [Continued in separate entry be|cw.] $5»000-000-°°

 

 

 

 

Gfilcla| Form 106AIB ' Schedule A!Ei: Property page 4

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D°bi°r 1 Tsal_?rill?“ H° Case number {irkrzown) 18-30531

 

(Claim Against Washe, LLC~Continued) The stated purpose of
Washe was "obtain[ing] and hoid[in|] property for the benefit
of Sophia Huang" and recovering funds owed to Ms. Huang
by Liberty. Ho was designated by the LeelHuang Famlly,
Kirk, Goa, and Liberty to be the sole member of Washe with
the soie intent of acting as "Trustee for Huang." immediately
after Washe was formed, Liberty deeded three separate
properties from investment entities of Liberty to Washe as
part of the joint plan to protect the investment of the
Le_eiHuang Family. At the insistence of Goa, a fourth real t
property was added to Washe, a property controlled by Kirk's
other glrifriend, Sonia Chlou. The manager of the Liberty '
Northem California operations This fourth property was
known as 26390 Anacapa Dr., Los A|tcs, GA from Sunshlne
i.os A|tos Hiils. The Anacapa Property was purchased by
Kirk for Chiou. The purchase price was $1,997,979.4?. The
closing date was March 2, 2011. After transfer of the four
properties to Washe, Washe granted liens in favor of
LeelHuang 'Family secured by the four properties, including a
$28.5 million lien against the hotel property and a $2 million
lien against a Los Altos residence (Continued in separate
entry be_iow.)

$B.oo

 

 

 

(Claim Against Waehel LLC-Continued) The-se liens were
meant to secure a refund of LeeiHuang Famiiy's prior
investments in Liberty and NAAMC. Prior to the Bar Date,
Washe filed its proof of claim for $2 million based on "monies
advanced," supported by a promissory note dated Novernber
25, 2014 in the Liberty Case. This Proof of Clalm has now
been disaiiowed by Judge Robles in the Liberty case. The
Debtor estimates that her Estate‘s C|aim against Washe, LLC

 

 

$6.00

 

for damages is between $2.5 and $5.0 million.

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims

l Nc
l:] Yes. Describe each ciaim .........

35. Any financial assets you did not already tist
. Nc
Ei Yes. Givs specific information..

 

36. Add the doiiar value of ail of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here. . .......

 

 

$5,000,000.00

 

 

Deserlbe Any Busines's-Reiawd Pmperty You Own or Have an interest ln. list any real estate in Patt 'l.

37. Do you own or have any regal or equitable interest in any business-related property?
- No. Go to Part S.
|°_‘i res soto ana 3a

Part €~_ Descrihe Any Farm- and Gomrnercial Flshing-Related Pmperty You Dwn or Hmre an interest ln.
iiyou own or have an interest in i'eru'ilandl list it in Part 1.

46. Do you own or have any legal or equitable interest In any farm- or commercial fishing-related property?
l Ne. Ge to Part 7.
Ei Yes. eo to ina 4r.

essence nil Propeny you own or nan an miami in rest von old wet Lrsr Ahove

Oiticiai Fon'n iiJSAJB Scheduie Ai‘B: Property

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Best Case Bal’lk!upiqr

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Debtor‘l Tsai Luan Hg Case number (ifknown} 113..3°581

53. Do you have other properly of any kind you did not already list?
Examples: Season tickeis, country club membership

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

l No
` ll Yes. Give specific information .........
54. Add the dollar value of all of your entries from Part 7. Wril)e that number here ...... $0.00
.__.......__..._,...._,,__

L{st the Totala of Each Fart of this Farm

55. Part 'l: Total real estate, line 2 ` 7 $0.00

56. Part 21 Total vehicles, line 5 $0.00

5?. Part 3: Total personal and ho usohoid items, line 1 5 $0.00

58. Part 4: Tota| financial assets, line 36 _ $5,000,000.0{1

59. Part 5: Tota| business-related property, line 45 $0.00

60. Part 8: ?otal farm- and Hsh|n|-relatod property, line 52 $0.00

61._ Part 7: Tota| other property not listed, line 64 + $0.00

62. mac personal propeny. mm lines ss through 61... ss,ooo_!ooo.oo Oopy personal propady total $5.000,00_0.06

63. Total of ali property on Schedule AlB. Add line 55 + line 62 $5,000,000.00
Officlal Forrn 106NB Schedula AIB: Propeny page 6
Sonare Copyrfghl (o) 1996~201|3 Beat Case, LLC - www.bostcase,oom ` Basi Cuso Bankn.ploy

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United States Bankruptcy C'ourt
Northern District of California

lmra Tlsei[r._i.’i_gn Ho CasoNo. 18-30581
Dobtor(s) - Chapter 7

AMENDED

DECLARATION CQNCERNING DEBTOR'S SCHEDULES

DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

I declare under penalty of perjury that Ihave read the foregoing Schedule B, consisting of 6 page(s),
and that they are true and correct to the best of my knowledgo, information, and belief

Daxe Septembar10,2018 Signature g z -" §-£

Tsai Luan Ho
Debtor

Penallyfor making afa£se srqtement or concealing property Fine of up to $500,000 or imprisonment for up to 5 years or both.
18 U.S.C. §§ 152 and 3571.

Soltwers Gopyrlghl (c) 1996-2018 Bosl Case. LLC -wum.beatcaoe.oom asst Casa Bankmpicy

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